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                   IN THE UNITED STATES DISTRICT COURT                        By:                                   De;;;ut:l Cler:{
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

SHIRLEYHIX                                       )
                                                 )
               Plaintiff,                        )
                                                 )   CIVIL ACTION
v.                                               )   FILE NO.- - - - - - -
                                                 )
NCB MANAGEMENT SERVICES, INC.                    )
and PENNCRO ASSOCIATES, INC.                     )
                                                 )                                                1/\;

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                                              , - CV - 0,
                                                       . 1 Q :~~           '.
               Defendants.
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                               NATURE OF ACTION

       1.      This is an action brought under the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692 et seq.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff's action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants transact

business in this district.
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                                      PARTIES

      4.      Plaintiff, Shirley Hix ("Plaintiff'), is a natural person who at all

relevant times resided in the State of Georgia, County of Walker, and City of

Rossville.

      5.      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

      6.      Defendant, NCB Management Services, Inc ("NCB") is an entity who

at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C.

§1692a(5).

      7.      Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

      8.      Defendant, Penncro Associates, Inc. ("Penncro") is an entity who at

all relevant times was engaged, by use of the mails and telephone, in the business

of attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

      9.      Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

                           FACTUAL ALLEGATIONS

      10.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendants.

      11.     Plaintiffs obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendants, arises from a transaction in which
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the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes.

      12.    Plaintiff incurred the obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendants.

      13.    Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another

      14.    In connection with the collection of an alleged debt in default,

Defendant, Penncro Associates, Inc. ("Penncro"), sent Plaintiff initial written

communication dated March 3, 2012. (See Correspondence dated March 3, 2012,

attached hereto as Exhibit "A").

      15.    The March 3, 2012 correspondence stated the balance due as

"$5,008.70." (Exhibit "A").

      16.    The March 3, 2012 correspondence failed to acknowledge that the

amount necessary to fully pay the debt could vary as a result of continually

accruing interest, fees and other charges. (See Exhibit "A").
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      17.    The least sophisticated debtor recelvmg the March 3, 2012

correspondence could believe that the alleged debt could be paid in full by

remitting the sum of $5,008.70.

      18.    Plaintiff's right to dispute the debt, or any portion of thereof, provided

by section 1692g is prejudiced by Penncro's failure to inform Plaintiff that the debt

consisted of interest or other charges, where such additional charges are only

disclosed after the thirty-day dispute period.

      19.    Penncro' s omission of material information would deceive or mislead

the least sophisticated consumer as to the character or amount of the debt.

      20.    Penncro's March 3, 2012 communication failed to clearly and

effectively state the amount of the debt as required by 15 U.S.C. § 1692g(a)(1).

      21.    Penncro's March 3, 2012 correspondence further stated, relevant part:

      CREDITOR:     FIA CARD SERVICES N.A.
      REGARDING:     PAST DUE CREDIT CARD
      ACCOUNT # ENDING IN: 6334

(See Exhibit "A").

      22.    In connection with the collection of an alleged debt in default,

Defendant, NCB Management Services, Inc. ("NCB"), sent Plaintiff initial

written communication dated April 4, 2012 regarding account ending in

6334, and in such communication, stated in relevant part as follows:
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      RE: BANK OF AMERICA
      Acct# : XXXXXXXXXXX6334"

(See April 4, 2012 communication, attached hereto as Exhibit "B").

         23.   Upon receiving Penncro's March 3,2012 correspondence and NCB's

April 4, 2012 correspondence, the least sophisticated consumer would be confused

as to the correct identity of the current creditor.

         24.   If the creditor was Bank of America, Penncro' s March 3, 2012 initial

written communication, identifying "FIA CARD SERVICES N.A." as the creditor

of the account, failed to provide the name of the creditor to whom the alleged debt

is owed as required by 15 U.S.C. § 1692g(a)(2).

         25.   Alternatively, if the creditor was Fia Card Services N.A., then NCB's

April 4, 2012 initial written communication identifying "BANK OF AMERICA"

as the creditor, failed to provide the name of the creditor to whom the alleged debt

is owed as required pursuant to 15 U.S.C. § 1692g(a)(2).

         26.   Defendants' actions constitute conduct highly offensive to a

reasonable person.

                                       COUNT I
                        VIOLATION OF 15 U.S.C. § 1692e
                           DEFENDANTPENNCRO

         27.   Plaintiff repeats and re-alleges each and every allegation contained

above.
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         28.      Penncro violated 15 U.S.C. § 1692e by using a false, deceptive, or

misleading representation or means in connection with the collection of Plaintiff s

debt, including by its material omission as to whether interest or other charges

were subject to accrue on Plaintiffs debt.

         WHEREFORE, Penncro prays for relief and judgment, as follows:

               a) Adjudging that Penncro violated 15 U.S.C. § 1692e;

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of$l,OOO.OO;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.

                                    COUNT II
                         VIOLATION OF 15 U.S.C. § 1692e(2)(A)
                              DEFENDANTPENNCRO

      29.         Plaintiff repeats and re-alleges each and every allegation contained

above.
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         30.      Penncro violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

character, amount, or legal status of Plaintiffs alleged debt, including by its

material omission as to whether interest or other charges were subject to accrue on

Plaintiff's debt.

         WHEREFORE, Penncro prays for relief and judgment, as follows:

               a) Adjudging that Penncro violated 15 U.S.C. § 1692e(2)(A);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of$I,OOO.OO;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.

                                     COUNT III
                            VIOLATION OF 15 U.S.C. § 1692e(10)
                                DEFENDANTPENNCRO

         31.      Plaintiff repeats and re-alleges each and every allegation contained

above.
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      32.      Pennro violated 15 U.S.C. § 1692e(10) by using a false, deceptive, or

misleading representation or means in connection with the collection of Plaintiffs

debt, including by its material omission as to whether interest or other charges

were subject to accrue on Plaintiffs debt and falsely representing the name of the

creditor to whom the alleged debt is owed.

      WHEREFORE, Penncro prays for relief and judgment, as follows:

            a) Adjudging that Penncro violated 15 U.S.C. § 1692e(10);

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of$I,OOO.OO;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

            d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

              proper.
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                                        COUNT IV
                            VIOLATION OF 15 U.S.C. § 1692g(a)(I)
                                 DEFENDANTPENNCRO

         33.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      34.         Penncro violated 15 U.S.C. § 1692g(a)(1) by failing to meaningfully

convey to Plaintiff the amount of the alleged debt in its initial written

communication or within five days thereof.

      WHEREFORE, Penncro prays for relief and judgment, as follows:

               a) Adjudging that Penncro violated 15 U.S.C. § 1692g(a)(1);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of$I,OOO.OO;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.
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                                    COUNT V
                         VIOLATION OF 15 U.S.C. § 1692g(a)(2)
                              DEFENDANTPENNCRO

         35.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         36.      Penncro violated 15 U.S.C. § 1692g(a)(2) by failing to meaningfully

convey to Plaintiff the name of the creditor to whom the alleged debt is owed.

         37.      WHEREFORE, Penncro prays for relief and judgment, as follows:

               a) Adjudging that Penncro violated 15 U.S.C. § 1692g(a)(2);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of$I,OOO.OO;

               c) Awarding Plaintiff actual damages, pursuant to 15 U. S.C. § 1692k;

               d) A warding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.
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                            COUNT VI
             ALTERNATIVE VIOLATION OF 15 U.S.C. § 1692e(10)
                         DEFENDANT NCB

      38.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      39.      In the alternative, NCB violated 15 U.S.C. § 1692e(10) by using false

representations and/or deceptive practices in connection with collection of an

alleged debt including by falsely representing the name of the creditor to whom the

alleged debt is owed.

      WHEREFORE, NCB prays for relief and judgment, as follows:

            a) Adjudging that NCB violated 15 U.S.C. § 1692e(10);

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of$I,OOO.OO;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            t) Awarding such other and further relief as the Court may deem just and

               proper.
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                            COUNT VII
            ALTERNATIVE VIOLATION OF 15 U.S.C. § 1692g(a)(2)
                         DEFENDANT NCB

      40.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      41.      In the alternative, NCB violated 15 U.S.C. § 1692g(a)(2) by failing to

meaningfully convey to Plaintiff the name of the creditor to whom the alleged debt

is owed.

   WHEREFORE, NCB prays for relief and judgment, as follows:

            a) Adjudging that NCB violated U.S.C. § 1692g(a)(2);

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of$I,OOO.OO;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

            d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            t) Awarding such other and further relief as the Court may deem just and

               proper.
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                                TRIAL BY JURY

      42.   Plaintiff is entitled to and hereby demands a trial by jury.


This 2nd day of August, 2012.


                                             ATTORNEYS FOR PLAINTIFF
                                             SHIRLEYHIX

                                             Respectfully submitted,

                                             ~--L-
                                             Dennis R. Kurz
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Time New Roman and

a point size of 14.

                                           Respectfully submitted,



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